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           Phone: (718) 971-9474 I Fax: (718) 865-0943 [ Email: Jshalom@JonathanShalomLaw.com
                     Office: 105-13 Metropolitan Avenue Forest Hills, New York 11375


                                                                     December 19, 2019



  VIAECF
                                                                 APPLICATION GRANTED
 Honorable John G. Koeltl
 United States District Court                                        ;:: S.~JRDERED
 Southern District of New York
 40 Foley Square
 New York, New York 10007
                                                              Ji;li,dcr-- .:
                                                                   John G. Koeltl, U.S.D.J.

                                                                                        I   ;i/'JD// ?.
          Re:     Dennis v. AIG Direct Insurance Services, Inc., Case No. 1: l 9-cv-04544-JGK


  Dear Judge Koeltl:

          We represent Plaintiff Derrick U Dennis ("Plaintiff') in connection with the above-
  referenced matter and write jointly with Defense Counsel to request an extension of Your
  Honor's November 25, 2019 Order of Discontinuance (the "Discontinuance Order"). The Order
  provided that the Parties have the right to reopen the action within thirty days of the date of this
  Order if the settlement is not consummated. Accordingly, the current deadline to do so is
  Wednesday, December 25, 2019.

          The parties are still in the process of finalizing the settlement, and it is likely that the
  settlement will not be consummated by December 25, 2019. Accordingly, we write to
  respectfully request a forty-five (45) day extension of the deadline set by the Discontinuance
  Order, until February 3, 2020.

           Pursuant to You Honor's Individual Rules, Defendant states that there have been no
  previous requests--for such an extension, and such an extension will not affect any scheduled dates
  for this matter:
                                                  Respectfully submitted,


                                                    ls/Jonathan Shalom
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